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Attorneys for Plaintiff


                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,                 )
                                            )
                          Plaintiff,        )
                                            )
          vs.                               ) No. 3:19-cr-00003-RRB-MMS
                                            )
  TRISTAN JAMAL GRANT, a/k/a                )
  “Goo,”                                    )
                                            )
                          Defendant.        )
                                            )

                GOVERNMENT’S SUPPLEMENTAL TRIAL BRIEF

       COMES NOW the United States of America, by and through undersigned counsel,

and hereby submits this supplement to the Government’s Trial Brief at Docket 161. This

bench trial is set to begin on Monday, April 12, 2021 at 8:30 a.m. in Anchorage

Courtroom 3 and is expected to last two or three days.



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         The United States intends to call an additional witness, Monte Hernandez, in its

case-in-chief. Mr. Hernandez will testify that he was a defense investigator working with

defense counsel James Wendt. Pursuant to a pretrial release order from Magistrate Judge

Scoble, Grant was placed in Hernandez’s custody for the purpose of traveling from the

Anchorage Jail to Wendt’s office to prepare for trial. Hernandez will testify that on

February 16, 2021, Grant fled on foot from Hernandez’s vehicle as they were about to

return Grant to jail. 1

         The United States may present evidence of Grant’s flight to show his

consciousness of guilt. The Ninth Circuit has held that “[f]light immediately after the

commission of a crime, or immediately prior to trial, both support an inference of

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1
  The Court has previously addressed any potential conflict issues that may arise from Mr. Hernandez’s
testimony. See Doc. 181. The defendant was provided with independent counsel to advise him of the
potential conflict. See Doc. 183. After being advised by independent counsel, the defendant knowingly
and voluntarily waived in writing the potential conflict that may result from his attorney’s investigator
testifying against him at trial. Id.

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consciousness of guilt.” United States v. Hernandez-Miranda, 601 F.2d 1104, 1107 (9th

Cir. 1979). Evidence of flight is generally admissible at trial. United States v. Guerrero,

756 F.2d 1342, 1347 (9th Cir. 1984).

       RESPECTFULLY SUBMITTED April 6, 2021, in Anchorage, Alaska.

                                                 E. BRYAN WILSON
                                                 Acting United States Attorney

                                                 s/ Jennifer Ivers
                                                 KYLE REARDON
                                                 JENNIFER IVERS
                                                 Assistant U.S. Attorneys

                                                 United States of America

CERTIFICATE OF SERVICE

I hereby certify that on April 6, 2021, a true
and correct copy of the foregoing was
served electronically on the following:

James Wendt

s/ Jennifer Ivers
Office of the U.S. Attorney




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